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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,
                                                            REPORT & RECOMMENDATION
                      Plaintiff,
                                                            05-CR-6108L
               v.

JOEY HEMINGWAY,

                      Defendant.




                                        BACKGROUND

               By Order dated September 13, 2005, all pre-trial matters in the above captioned

case have been referred to this Court pursuant to 28 U.S.C. §§ 636(b)(1)(A)-(B). (Docket # 10).

               Defendant Joey Hemingway (“Hemingway”) is charged in a six-count superseding

indictment. The first count charges that between January 2000 and March 2006, Joey

Hemingway and his brother Andre Hemingway conspired to possess with intent to distribute, and

to distribute, fifty grams or more of cocaine base and five hundred grams or more of cocaine, in

violation of 21 U.S.C. § 846. The second and third counts charge that on March 28, 2005, Joey

and Andre Hemingway possessed with intent to distribute cocaine base and cocaine, respectively,

in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(C) and 18 U.S.C. § 2. The fourth and fifth

counts charge that on March 8, 2006, Joey and Andre Hemingway possessed with intent to

distribute cocaine base and cocaine, respectively, in violation of 21 U.S.C. §§ 841(a)(1) and

841(b)(1)(C) and 18 U.S.C. § 2. The final count charges that on March 28, 2005, Joey

Hemingway illegally possessed a firearm and ammunition after having been convicted of a crime
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punishable by a term of imprisonment exceeding one year, in violation of 18 U.S.C. §§ 922(g)(1)

and 924(a)(2). (Docket # 25).

                  This Court previously issued a Report and Recommendation relating to motions

filed by co-defendant Andre Hemingway. (Docket # 96). That recommendation was thereafter

adopted by Judge Larimer on February 13, 2007. (Docket # 102).

                  On November 30, 2006, Joey Hemingway moved to preclude the government

from introducing at trial evidence relating to nine separate events that the government had

contended is evidence of the charged conspiracy.1 (Docket # 88). The government now

represents that it no longer seeks to admit evidence relating to two of the incidents, specifically,

those that occurred on October 19, 1999 and July 19, 2005. (Docket # 109 at 3-5). Of the

remaining seven, Hemingway has filed motions to suppress evidence seized during two, and this

Court has conducted evidentiary hearings as to those incidents – the first involving events

occurring on November 21, 2003, and the second involving events occurring on April 12, 2004.2

Following the hearings, Hemingway has conceded that no constitutional basis exists to seek

suppression of the evidence seized on November 21, 2003,3 leaving the lawfulness of the




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            Hemingway’s omnibus motion relating to the superseding indictment also sought, inter alia, discovery
and inspection, Brady material, Jencks material, suppression of statements and rulings on evidentiary matters under
Rules 404, 608 and 609 of the Federal Rules of Evidence. (Docket # 47). Each of these requests was either resolved
by the parties, decided in open court by the undersigned on June 14, 2006, or subsequently withdrawn by
Hemingway. (Docket ## 57, 60, 75).

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           Hemingway’s initial motion papers incorrectly identified the dates of these events as November 11, 2003,
and April 27, 2004, respectively. (Docket # 88 at ¶ 57-60).

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            Specifically, Hemingway has conceded that “the record [does] not establish a basis for suppression of the
evidence . . . based on Fourth Amendment violations.” (Docket # 122 at 1). Because Hemingway no longer seeks
suppression of evidence obtained on November 21, 2003, I recommend denial of his motion to suppress evidence
obtained that day.

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officers’ actions on April 12, 2004 as the only issue currently in dispute.4 Accordingly, the April

12, 2004 incident is the only one addressed in this Report and Recommendation.



                                         FACTUAL BACKGROUND

                  This Court conducted an evidentiary hearing on January 19 and 24, 2007. At the

hearing, the government offered the testimony of Officers Scott Ferro and Paul Romano of the

Rochester Police Department. Joey Hemingway was called by the defense. The following is a

summary of the relevant testimony elicited during the hearing.



Testimony Offered by the Government

                  On April 12, 2004, at approximately 8:19 p.m., a team of four police cars was

patrolling the area of Lewis Street in the City of Rochester – an area of the city with a high

incidence of violent and narcotics activity. (Tr.A 9-10; 35).5 As the patrol cars turned onto

Lewis Street, Officer Mazurkiewicz, who was traveling in the first car, transmitted a radio

broadcast that he had observed an older black male with his head inside a vehicle. He reported

that the male was wearing a dark-colored hooded sweatshirt. (Tr.A 14; 36). Officer Ferro, who

was driving in the second car, testified that upon hearing the radio report, he too observed a male



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            This Report and Recommendation does not address any evidentiary objections Hemingway may wish to
raise to the admissibility of evidence relating to any of the seven incidents. Those objections are better left to the
discretion of the trial judge at the time of trial.

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            The transcript of the suppression hearing conducted before this Court on January 19, 2007, shall
hereinafter be referenced as “Tr.A __.” (Docket # 109).

           The transcript of the suppression hearing conducted before this Court on January 24, 2007, shall
hereinafter be referenced as “Tr.B __.” (Docket # 111).

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matching the description provided by Mazurkiewicz standing near the driver’s side of a green

Oldsmobile Aurora with his head and right arm inside the vehicle. (Tr.A 12; 14). Officer

Romano also saw a male matching Mazurkiewicz’s description looking into the Aurora. (Tr.A

36-37). The Aurora was parked in the area of 195 Lewis Street. As the police vehicles continued

to approach, the male looked up from the car in the direction of the officers, at which point he

“immediately” withdrew his arm from the Oldsmobile, turned and began walking quickly in the

opposite direction. (Tr.A 15). Ferro believed that he had witnessed a narcotics transaction.

(Tr.A 16).

               Mazurkiewicz directed the other officers to “step out” of their vehicles and

question the individual. (Tr.A 15). Ferro and his partner, Officer Kevin Schoenl, approached the

man as he continued to walk away. Ferro observed him place his right hand, which appeared to

be holding something, into the front pocket of his hooded sweatshirt. (Tr. 17; 28-29). Schoenl

began to speak with the man and conducted a pat-search of his person, during which Ferro

noticed that the man was leaning towards his left side. Ferro directed him to stand up straight.

When he did, a clear bag containing a white powder substance fell out of his front sweatshirt

pocket. (Tr.A 17-18). Ferro notified the other officers of the discovery of suspected cocaine, and

the man, then identified as Charles Walker, was arrested for possession of cocaine. (Tr. 19).

               Meanwhile, Officers Romano and Alberto exited their patrol cars and approached

the green Aurora, which had two people seated inside. (Tr.A 37-38; 54-55). Romano testified

that he recognized the driver of the vehicle, but could not remember his name. After asking for

identification, Romano identified the driver as Joey Hemingway. (Tr.A 39-40). Romano asked

Hemingway where he was coming from, where he was going and what he was doing. During


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this questioning, Romano heard Ferro’s announcement that he had discovered cocaine on

Walker. (Tr.A 40). As a result of this information, Romano asked Hemingway to step out of the

car, which he did, and Romano asked him whether he possessed any weapons or narcotics. (Tr.A

40-41). Hemingway replied that he did not and told Romano to “check” him. (Tr. A 41; 56).

Romano conduced a search of Hemingway’s person and discovered in the small, right front pants

pocket of his jeans (the change pocket) two small baggies containing a substance Romano

believed to be cocaine. (Tr.A 42). According to Romano, Hemingway did not resist the search,

nor did he ask Romano to stop the search while it was being conducted. (Tr.A 43).

               At that point, Hemingway was handcuffed and placed in the rear seat of one of the

patrol cars. While seated in the car, Hemingway complained to the officers that his wrists hurt.

One of the other officers removed Hemingway from the car and loosened the handcuffs. During

this process, a small baggie containing a green leafy substance was discovered in Hemingway’s

hands. (Tr.A 58; 60).



Testimony Offered by Hemingway

               Hemingway also testified about his arrest on April 12, 2004. According to his

testimony, on that date, Hemingway was at a friend’s house at 185 Lewis Street playing cards.

(Tr.B 6). Shortly after 8:00 p.m., Hemingway left the residence with three other people and

walked to his car. (Tr.B 7; 21). The car was a green Oldsmobile Aurora with tinted windows.

(Tr.B 21). Hemingway started his car, but before he was able to pull away, two police cars

stopped nearby, and four officers got out. (Tr.B 23). Hemingway sat in his car and watched as

the officers pursued an individual who was walking in the opposite direction. (Tr.B 24). No one


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was standing next to the driver’s side window of the car before the officers arrived, Hemingway

asserted. (Tr.B 25). A few minutes later, Hemingway observed the officers walking back with

the individual in handcuffs. (Tr.B 25).

               After the officers returned, one of them started walking toward Hemingway’s

vehicle. According to Hemingway, he then turned off the ignition because he had a bottle of

liquor in the car and did not want to be arrested for driving while intoxicated. (Tr.B 26). When

he turned the car off, the interior lights automatically illuminated. At that point, Hemingway

heard someone knocking on the trunk of the car. He looked in the mirror and saw an officer with

a gun who instructed him to “step out of the vehicle.” Hemingway asked, “For what?” and the

officer opened the door, grabbed his arm and repeated, “Get out of the vehicle.” (Tr.B 26-27).

Once Hemingway exited the car, the officer turned him around so that he was facing the car and

conducted a search of his person. (Tr.B 28-29). As he searched, the officer asked Hemingway

whether he was carrying any weapons or sharp objects. Hemingway indicated that he was not,

and the officer asked whether he possessed any drugs. Hemingway again stated, “no.” The

officer continued by asking whether Hemingway had ever been arrested, to which he replied that

he had. “For what,” the officer asked, and Hemingway responded, “drugs, in the past.” At the

conclusion of this exchange, the officer handcuffed Hemingway, placed him in the back seat of a

police car and stated, “I’m going to run a search on you and see if you have a warrant.” (Tr.B

29-30). Hemingway testified that he did not consent either to a search of his person or of his

vehicle. (Tr.B 30; 32). He further stated that although he had marijuana, he did not possess

cocaine at the time of the search. (Tr.B 60).




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                                           DISCUSSION

               Hemingway moves to suppress evidence taken from him on April 12, 2004, on the

grounds that such evidence was obtained in violation of his constitutional rights. (Docket # 88).

Resolution of this claim requires the Court to analyze the interaction between Hemingway and

the officers and determine whether it amounted to a seizure within the meaning of the

Constitution. To implicate the Fourth Amendment, the interaction must have amounted to either

an investigative detention or an arrest; a consensual encounter, by contrast, would not trigger the

protections of the Amendment. See United States v. Tehrani, 49 F.3d 54, 58 (2d Cir. 1995).

               The most intrusive of these three interactions, arrest, requires a showing of

probable cause. For a warrantless arrest to be valid under the Fourth Amendment, the arresting

officers must have probable cause to make the arrest at the time it is made. Beck v. Ohio, 379

U.S. 89, 91 (1964). “[I]n general, probable cause to arrest exists when the officers have

knowledge or reasonably trustworthy information of facts and circumstances that are sufficient in

themselves to warrant a person of reasonable caution in the belief that (1) an offense has been or

is being committed (2) by the person to be arrested.” United States v. Fisher, 702 F.2d 372, 375

(2d Cir. 1983) (citations omitted). “The quantum of evidence required to establish probable

cause to arrest need not reach the level of evidence necessary to support a conviction, . . . but

must constitute more than rumor, suspicion, or even a ‘strong reason to suspect.’” Id. (quoting

Henry v. United States, 361 U.S. 98, 101 (1959)); see Wong Sun v. United States, 371 U.S. 471,

479 (1963).

               The second possible level of interaction between law enforcement and private

citizens is an investigative detention, often referred to as a Terry or traffic stop. A Terry stop


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constitutes a more limited seizure than an arrest within the meaning of the Fourth Amendment

and thus requires a more modest showing by the government than that required to justify an

arrest. United States v. Terry, 392 U.S. 1, 30 (1968); United States v. Scopo, 19 F.3d 777, 781

(2d Cir.) (citing Delaware v. Prouse, 440 U.S. 648, 653 (1979)), cert. denied, 513 U.S. 877

(1994). Instead of probable cause, a Terry stop must be justified by “reasonable suspicion, based

on specific and articulable facts, of unlawful conduct.” United States v. Scopo, 19 F.3d at 781

(quoting United States v. Hassan El, 5 F.3d 726, 729 (4th Cir. 1993), cert. denied, 511 U.S. 1006

(1994)); see Terry v. Ohio, 392 U.S. at 30 (police officer may lawfully conduct brief stop and

frisk for weapons, without probable cause, if officer “observes unusual conduct which leads him

reasonably to conclude in light of his experience that criminal activity may be afoot”). An officer

conducting a Terry stop is permitted to detain the individual briefly “in order to investigate the

circumstances that provoke[d] suspicion.” Berkemer v. McCarty, 468 U.S. 420, 439 (1984)

(quoting United States v. Brignoni-Ponce, 422 U.S. 873, 881 (1975)). During the stop, the

officer “may ask the detainee a moderate number of questions to determine his identity and to try

to obtain information confirming or dispelling the officer’s suspicions.” Id. The detainee is not

required to respond, however, and must thereafter be released unless his or her answers provide

the officer with probable cause for an arrest. Id. Evidence obtained as the result of an unjustified

Terry stop “is subject to the fruit of the poisonous tree doctrine” and may be suppressed. Scopo,

19 F.3d at 781 (citing United States v. Hassan El, 5 F.3d at 729); see also Wong Sun v. United

States, 371 U.S. at 488.

               The final and least intrusive type of interaction between law enforcement and

private citizens is the consensual encounter. A consensual encounter requires no justification –


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either by probable cause or reasonable suspicion – because the citizen is not seized, and thus no

constitutional rights are implicated. See United States v. Adegbite, 846 F.2d 834, 837 (2d Cir.

1988) (“only if they were seized are defendants vested with any right to constitutional

safeguards”) (quoting United States v. Knox, 839 F.2d 285, 289 (6th Cir. 1988)). As the

Supreme Court has recognized, “Obviously, not all personal intercourse between policemen and

citizens involves ‘seizures’ of persons. Only when the officer, by means of physical force or

show of authority, has in some way restrained the liberty of a citizen may we conclude that a

seizure has occurred.” Terry, 392 U.S. at 19 n.16.

               On a motion to suppress, the defendant bears the initial burden of establishing that

a government official acting without a warrant in fact subjected him to a search or seizure.

United States v. Arboleda, 633 F.2d 985, 989 (2d Cir.1980) (citations omitted), cert. denied, 450

U.S. 917 (1981); United States v. Chavis, 48 F.3d 871, 872 (5th Cir.1995); United States v.

Bayless, 921 F. Supp. 211, 213 (S.D.N.Y. 1996). Once the defendant has met this burden, the

burden then shifts to the government to demonstrate by a preponderance of the evidence, United

States v. Bayless, 921 F. Supp at 213, that the search or seizure did not violate the Fourth

Amendment. United States v. Arboleda, 633 F.2d at 989; see also United States v. Bonilla

Romero, 836 F.2d 39, 45 (1st Cir. 1987) (“[w]hen it has acted without a warrant, the ultimate

burden of persuasion is then upon the government to show that its evidence is not tainted”)

(citing Alderman v. United States, 394 U.S. 165, 183 (1969)), cert. denied, 488 U.S. 817 (1988).

               In analyzing whether a seizure has occurred, the Court must “consider all the

circumstances surrounding the encounter to determine whether the police conduct would have

communicated to a reasonable person that the person was not free to decline the officers’


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requests or otherwise terminate the encounter.” Florida v. Bostick, 501 U.S. 429, 439 (1991);

see also Brendlin v. California, No. 06-8120, slip op. at 4-5 (June 18, 2007); United States v.

Springer, 946 F.2d 1012, 1016 (2d Cir. 1991). According to the Second Circuit, those

circumstances include the following factors, the presence of which suggest that a seizure has

occurred:

                  [T]he threatening presence of several officers; the display of a
                  weapon; physical touching of the person by the officer; language or
                  tone indicating that compliance with the officer was compulsory;
                  prolonged retention of a person’s personal effects, such as airplane
                  tickets or identification; and a request by the officer to accompany
                  him to the police station or a police room.

United States v. Hooper, 935 F.2d 484, 491 (2d Cir. 1991) (citations omitted). During a

consensual encounter, law enforcement is not required to advise the citizen that he or she is free

to leave or terminate the questioning. See id. at 492.

                  In this case, I find that the credible testimony shows that the following occurred

on April 12, 2004.6 At approximately 8:19 p.m., a unit comprised of four police cars was on

patrol in the area of Lewis Street, an area known to have a high incidence of narcotics activity.

(Tr.A 9-10; 35). Several of the officers observed a man leaning into an Oldsmobile Aurora that

was parked on Lewis Street; one of the officers, Officer Ferro, saw that the man had his head and

his right arm inside the car. (Tr.A 14; 36-37). As the police approached, the man looked up and

in their direction, immediately withdrew his arm from the car and began to walk “quickly” away

from the car in the opposite direction from the officers. (Tr.A 15). As he did so, Officer Ferro

observed him put his right hand, which appeared to be holding something, into the pocket of his


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            Having observed the demeanor of the witnesses and considered their testimony and interest in the case, I
find that officers’ testimony to be more credible than that offered by the defendant.

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sweatshirt. (Tr.A 24-25; 28-29). During a pat-search of him, officers observed a bag containing

over forty smaller baggies of suspected cocaine fall out of his sweatshirt pocket as he complied

with Officer Ferro’s direction to stand up straight. (Tr.A 17; 25).

                  While those events were taking place, Officer Romano approached the Aurora and

asked the driver for identification, which identified the driver as Joey Hemingway. Romano

asked him where he was coming from, where he was going and what he was doing. During that

questioning, Romano heard Ferro’s announcement of the cocaine discovery from the individual

who had been observed leaning into Hemingway’s vehicle. (Tr.A 37-40). At that point, Romano

asked Hemingway to exit his car, which he did. (Tr.A 40). Romano further inquired of

Hemingway whether he had any weapons or narcotics, and Hemingway responded that he did not

and told Romano to “check” him. (Tr.A 41). Romano then searched him and discovered two

small packages of cocaine in the change pocket of his jeans. (Tr.A 42).

                  The record as it was developed during the hearing strongly suggests that the initial

encounter between Romano and Hemingway – that is, their interaction up to the point that

Romano asked Hemingway to exit the car – was a consensual encounter.7 While the record is not

entirely clear, it appears that Romano, accompanied by Officer Alberto, approached

Hemingway’s car. At the time of the approach, the car was parked at the curb of the street with

the ignition off. There is no evidence that the officers activated their sirens or lights or

surrounded Hemingway’s car either on foot or in their vehicles in order to impede or block his

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            Although it is a closer question, I conclude in the alternative that even if the initial interaction were
deemed a Terry stop, reasonable suspicion supported the officers’ actions. At the time that Romano began speaking
with Hemingway, another individual had been observed engaging in what appeared to be a hand-to-hand transaction
with someone in the Aurora, which was parked in an area known for its high incidence of narcotics activity. W hen
that individual saw the police, he immediately departed, walking away hastily, while at the same time placing an
object that was in his right hand into his pocket.

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egress. Romano did not physically touch Hemingway, display his weapon or speak in a manner

that would compel a reasonable person to answer or to feel he was not free to leave. Rather, he

simply asked to see Hemingway’s identification and asked him general questions about what he

was doing. See United States v. Hooper, 935 F.2d at 491. “[E]ven when officers have no basis

for suspecting a particular individual, they may generally ask questions of that individual . . .;

[and] ask to examine the individual’s identification.” Florida v. Bostick, 501 U.S. at 439

(citations omitted); accord United States v. Springer, 946 F.2d at 1016. See also United States v.

Montilla, 928 F.2d 583, 585, 590 (2d Cir. 1991) (encounter properly characterized as consensual

if district court, on remand, credits government witness’s testimony that two officers approached

individuals in bus terminal, asked for identification, inquired about their journey and requested

permission to inspect their luggage for narcotics); United States v. Lee, 916 F.2d 814, 819 (2d

Cir. 1990) (encounter was consensual where two police officers approached the defendant in the

airport, asked him to move out of the way of pedestrian traffic, to produce identification and his

plane ticket and posed several questions about his travels).

               I further determine that the consensual encounter evolved into a Terry stop at the

point at which Romano asked Hemingway to exit his car, which occurred after Romano heard

Ferro announce that cocaine had been discovered on Walker. Hemingway complied. I find his

acquiescence to amount to an act of submission to a show of authority. See California v.

Hodari D., 499 U.S. 621, 626 (1991) (a Fourth Amendment seizure occurs when a subject

submits to a show of authority); United States v. Swindle, 407 F.3d 562, 573 (2d Cir. 2005) (no

seizure occurs without “submission to the assertion of authority”). I easily conclude, however,

that by the time Romano learned of the cocaine discovery, ample reasonable suspicion existed to


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detain Hemingway briefly for further investigation.8 See note 7 supra. Requiring Hemingway to

exit his car and asking him whether he had weapons or narcotics were consistent with the

officers’ legitimate investigative purposes, as well as their reasonable concerns for their own

safety. See Berkemer v. McCarty, 468 U.S. at 439 (Terry stops are non-custodial and are not

subject to the strictures of Miranda; questioning during a Terry stop must be “reasonably related

in scope to the justification for their initiation”) (quoting United States v. Brignoni-Ponce, 422

U.S. at 881)); Pennsylvania v. Mimms, 434 U.S. 106, 111 (1977) (requiring a driver to exit his

vehicle during a traffic stop is a de minimis intrusion when balanced against the concern for

officer safety).

                   Having determined that Romano’s actions were proper to that point, the final

inquiry is whether he was justified in conducting a full-blown, rather than a pat-down, search of

Hemingway. Hemingway argues that the full search exceeded the parameters of a weapons

pat-down, the search authorized under Terry. The government, by contrast, argues that the

search was authorized, not by Terry, but by Hemingway’s voluntary consent. I agree with the

government.9


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            Hemingway relies on Second Circuit authority for the proposition that reasonable suspicion for a traffic
stop cannot be based solely upon the defendant’s proximity to a location or individual known for narcotics activity.
See United States v. Swindle, 407 F.3d at 569 (finding that defendant’s entry into a known drug house was
insufficient to establish probable cause); see also Illinois v. Wardlow, 528 U.S. 119, 124 (2000) (“individual’s
presence in an area of expected criminal activity, standing alone, is not enough to support a reasonable,
particularized suspicion that the person is committing a crime”). These cases, although authority for the proposition
cited, are nonetheless inapposite because they involved Terry stops in which the defendant’s proximity to locations
or individuals known for narcotics activity was the sole basis for the officers’ suspicions. In this matter, the officers
stopped Hemingway, not only because he was in an area known for narcotics trafficking, but because they had
observed what they believed was a narcotics transaction between W alker and the individuals in the car Hemingway
was driving and discovered narcotics on W alker’s person. These observations reasonably raised the officers’
suspicions to a degree justifying further investigation.

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             For this reason, I find that defendant’s reliance on Minnesota v. Dickerson, 508 U.S. 366 (1993), is
                                                                                                         (continued...)

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                   Although the Fourth Amendment generally requires that a police officer obtain a

warrant before conducting a search of a person or private property, Maryland v. Dyson, 527 U.S.

465, 466 (1999) (per curiam) (citing California v. Carney, 471 U.S. 386, 390-91 (1985)), a

warrantless search is permissible if based upon voluntary consent. Schneckloth v. Bustamonte,

412 U.S. 218, 222 (1973); United States v. Elliott, 50 F.3d 180, 185 (2d Cir. 1995), cert. denied,

516 U.S. 1050 (1996). The consent need only be voluntary, that is, obtained without coercion,

and the individual need not be advised of his or her right not to consent. See Schneckloth v.

Bustamonte, 412 U.S. at 241-42; United States v. Garcia, 56 F.3d 418, 422 (2d Cir. 1995). It is

the government’s burden to prove by a preponderance of the evidence that the consent was

voluntary, United States v. Buettner-Janusch, 646 F.2d 759, 764 (2d Cir.), cert. denied, 454 U.S.

830 (1981) – an issue that must be determined by an objective standard, United States v. Garcia,

56 F.3d at 423, and judged on the totality of the circumstances. Schneckloth, 412 U.S. at 227;

United States v. Hernandez, 5 F.3d 628, 632 (2d Cir. 1993); United States v. Kon Yu-Leung, 910

F.2d 33, 41 (2d Cir. 1990).

                   Although Hemingway argues that he only offered to allow Romano to “check”

him because he knew Romano intended to search him anyway, he offers no factual support for

his purported belief. Hemingway has presented no evidence suggesting that Romano would have

exceeded the bounds of a permissible pat-down for weapons had Hemingway not consented to



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            (...continued)
misplaced. (Docket # 122 at 23-24). There, the suppression of narcotics seized during a search was warranted
because they were discovered only after the officer had determined that the defendant did not have a weapon; once
that determination had been made, the continued search exceeded the permissible bounds of a Terry-authorized
weapon pat-down. Id. at 378. Unlike this case, there was no issue of consent in Dickerson. Here, had Hemingway
not told the officers to “check” him, Dickerson would indeed mandate suppression. Because I find that Hemingway
did in fact invite or consent to the search, Dickerson is inapposite.

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the search. In any event, regardless of Romano’s intention at the time he inquired about weapons

and drugs, nothing in the record before this Court suggests that Romano’s actions or statements

coerced Hemingway’s consent. Accordingly, because Romano had Hemingway’s consent to

perform a search for both narcotics and weapons, no further justification was necessary.10 It is

therefore my recommendation that Hemingway’s motion to suppress evidence seized from him

on April 12, 2004 be denied.



                                                CONCLUSION

                  For the foregoing reasons, it is my recommendation that Hemingway’s motion to

suppress evidence seized on April 12, 2004 (Docket # 88) be DENIED.



                                                                 s/Marian W. Payson
                                                                         MARIAN W. PAYSON
                                                                      United States Magistrate Judge

Dated: Rochester, New York
       June 20 , 2007




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             Hemingway also contends that to the extent he consented to the search of his person, such consent was
tainted by the illegal Terry stop. (Docket # 122). Because I find that the government has sufficiently demonstrated
that Hemingway’s encounter with the officers was lawful, it is my further recommendation that his motion to
suppress on this basis be denied.

           Although Hemingway does not appear to directly challenge the subsequent seizure of narcotics discovered
in his hands following his arrest, a “fruit of the poisonous tree” argument premised on an illegal Terry stop would be
similarly unavailing.

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Pursuant to 28 U.S.C. § 636(b)(1), it is hereby

        ORDERED, that this Report and Recommendation be filed with the Clerk of the Court.

        ANY OBJECTIONS to this Report and Recommendation must be filed with the Clerk
of this Court within ten (10) days after receipt of a copy of this Report and Recommendation in
accordance with the above statute and Rule 58.2(a)(3) of the Local Rules of Criminal Procedure
for the Western District of New York.11

        The district court will ordinarily refuse to consider on de novo review arguments, case
law and/or evidentiary material which could have been, but was not, presented to the magistrate
judge in the first instance. See, e.g., Paterson-Leitch Co., Inc. v. Massachusetts Mun. Wholesale
Elec. Co., 840 F.2d 985 (1st Cir. 1988).

       Failure to file objections within the specified time or to request an extension of such
time waives the right to appeal the District Court’s Order. Thomas v. Arn, 474 U.S. 140
(1985); Small v. Secretary of Health and Human Servs., 892 F.2d 15 (2d Cir. 1989); Wesolek v.
Canadair Ltd., 838 F.2d 55 (2d Cir. 1988).

        The parties are reminded that, pursuant to Rule 58.2(a)(3) of the Local Rules of Criminal
Procedure for the Western District of New York, “written objections shall specifically identify
the portions of the proposed findings and recommendations to which objection is made and the
basis for such objection and shall be supported by legal authority.” Failure to comply with the
provisions of Rule 58.2(a)(3) may result in the District Court's refusal to consider the
objection.

        Let the Clerk send a copy of this Order and a copy of the Report and Recommendation to
the attorneys for the parties.

IT IS SO ORDERED.


                                                                s/Marian W. Payson
                                                                        MARIAN W. PAYSON
                                                                     United States Magistrate Judge

Dated: Rochester, New York
       June 20 , 2007

        11
            Counsel is advised that a new period of excludable time pursuant to 18 U.S.C. § 3161(h)(1)(F)
commences with the filing of this Report and Recommendation. Such period of excludable delay lasts only until
objections to this Report and Recommendation are filed or until the ten days allowed for filing objections has
elapsed. United States v. Andress, 943 F.2d 622 (6th Cir. 1991); United States v. Long, 900 F.2d 1270 (8th Cir.
1990).

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